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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

 CURTIS DWAINE DYSON,                                      §
                                                           §
           Plaintiff,                                      §
                                                           §
 v.                                                        §         Civil Action No. 3:24-CV-00975-E-BU
                                                           §
 COMMISSIONER OF SOCIAL SECURITY,                          §
                                                           §
           Defendant.                                      §
                                                           §
                                                           §

                 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
            RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

            The United States Magistrate Judge made findings, conclusions, and a recommendation in

 this case. (ECF No. 22). Plaintiff-Appellant Dyson filed objections. 1 The District Court reviewed

 de novo those portions of the proposed findings, conclusions, and recommendation to which

 objection was made, and reviewed the remaining proposed findings, conclusions, and

 recommendation for plain error. Finding no error, the Court ACCEPTS the Findings, Conclusions,

 and Recommendation of the United States Magistrate Judge. (ECF No. 22). The Court shall enter

 final judgment, separately. See Fed. R. Civ. P. 54; Fed. R. Civ. P. 58.

            SO ORDERED this 28th day of March, 2025.



                                                       ___________________________________
                                                       ADA BROWN
                                                       UNITED STATES DISTRICT JUDGE




 1
     Dyson timely filed objections on March 7, 2025. (ECF No. 23).


 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
 RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE                                         Page 1 of 1
